Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.480 Filed 02/04/22 Page 1 of 10




                                     EXHIBIT 2
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.481 Filed 02/04/22 Page 2 of 10




                SETTLEMENT AGREEMENT AND GENERAL RELEASE

        This Settlement Agreement and General Release (“Agreement”) is effective as of
 this 1st day of November, 2021, and entered into by and between (among):

        “PLAINTIFFS”:        McKenzie Pepper, Brett Pepper and Jennifer Pepper

        “DEFENDANTS":        Edwardsburg Public Schools, Katie VanBelle and Ryan
                             Markel.

                                         RECITALS

         1.   Plaintiff, McKenzie Pepper, (a.k.a. M.P.) was allegedly forced to engage in
 a sexual act off school premises by another high school student. Plaintiffs allege that
 defendant school district employees failed to investigate and respond appropriately and
 filed a Second Amended Complaint in the United States District Court, Western District
 of Michigan, Southern Division, assigned case number 1:20-cv-583 currently pending
 before Judge Janet T. Neff ("the Lawsuit").           Plaintiffs alleged claims against
 Edwardsburg Public Schools (“School District), High School Principal, Ryan Markel and
 Behavioral Specialist, Katie VanBelle pursuant to Title IX, 20 U.S.C. § 1681(a), 42
 U.S.C. § 1983, Michigan’s Elliott-Larsen Civil Rights Act, MCL § 37.2402, et seq., and
 First Amendment.

        2.     Defendants contend Plaintiffs’ claims are not supported by applicable law
 or the facts of this case and that Plaintiffs cannot show either actual knowledge or
 deliberate indifference or any acts of retaliation required to prove their claims. There is,
 however, a good faith dispute which has resulted in this litigation.

        3.    The parties desire to enter into this Agreement in order to provide for a
 certain payment to Plaintiffs in FULL SETTLEMENT AND DISCHARGE OF ANY AND
 ALL CLAIMS MADE OR WHICH COULD HAVE BEEN MADE AGAINST THESE
 DEFENDANTS AND/OR ANY OF EDWARDSBURG PUBLIC SCHOOLS, CURRENT
 OR FORMER BOARD MEMBERS, ADMINISTRATORS, TEACHERS, EMPLOYEES,
 AGENTS AND INSURER, arising out of, or related to, the events described in Recital 1
 above, and more fully described in the Lawsuit. The Second Amended Complaint filed
 in the Lawsuit is incorporated herein by reference. This Agreement is upon the terms
 and conditions set forth below.

                                          AGREEMENT

        4.     Defendants agree to provide a total payment of Sixty-Five Thousand
 Dollars ($65,000.00) to Plaintiffs and their attorneys. This is the only amount to be paid
 pursuant to this Agreement and includes any and all liability, costs, expenses and/or
 attorney fees.

       5.    In exchange for the payment described above, Plaintiffs agree to
 completely release and forever discharge Defendants, and any person or entity

                                        Page 1 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.482 Filed 02/04/22 Page 3 of 10




 associated with them, from all past, present or future claims, demands, obligations,
 actions, causes of action, rights, damages, costs, loss of services, expenses and
 compensation of any nature whatsoever, whether based on tort, contract or any other
 theory of recovery, which the Plaintiffs now have, may have, or which may hereafter
 accrue or otherwise be acquired, on account of, or in any way arising out of, or related
 to the incidents described in Recital 1 above and Plaintiff’s Second Amended Complaint
 in the Lawsuit, including, without limitation, any and all known or unknown claims for
 bodily, emotional, psychological, educational, and personal injuries to Plaintiffs, or any
 future claim brought by representatives or heirs of Plaintiffs.

        6.    The parties hereby agree that Plaintiffs, release Defendants and
 Edwardsburg Public Schools’ past or current employees, Board Members,
 Administrators, Agents and/or Self Insured Insurance Pool from any and all claims
 existing or potential, any liability or other legal or equitable relief, arising out of, or
 related to, any event, occurrence, facts and/or circumstances taking place prior to
 November 1, 2021.

        7.      It is expressly understood and agreed that this Agreement applies to all
 claims made in the Lawsuit along with any other claim which Plaintiffs may have, or
 had, based on any occurrence, event or fact which precedes the date of this
 Agreement. Plaintiffs hereby agree and acknowledge the claims released herein are
 not limited to matters which are known as of the date hereof.

         8.     Plaintiffs agree to dismiss with prejudice and without costs or attorney fees
 to any party the claims made in the Lawsuit against Defendants, as identified above.
 Plaintiffs agree that this settlement extinguishes and forever prevents resurrection of the
 claims set forth in that action, or any other claim arising out of, or related to, the facts
 alleged in the Lawsuit, against Defendants, and Edwardsburg Public Schools’ current or
 former board members, employees, agents and /or their insurer. Plaintiffs agree that
 Defendants or their insurer shall be entitled to immediate dismissal and payment of their
 legal expenses including actual attorney fees in the event any attempt is made to re-file
 those or related claims.

         9.     Plaintiffs acknowledge and agree that this Agreement is a general release.
 Plaintiffs expressly waive and assume the risk of any and all claims for damages which
 exist as of this date, but for which they do not know or expect to exist, whether through
 ignorance, oversight, error, negligence or otherwise. The parties acknowledge they
 have accepted the terms specified herein as a complete compromise of matters
 involving disputed issues of law and fact. It is understood and agreed by the parties
 that this settlement is a compromise of disputed claims and that the terms and
 conditions hereof are not to be construed as an admission of any liability on the part of
 Defendants or any of Edwardsburg Public Schools’ board members, administrators,
 employees and/or agents.

       10.    By entering into this Agreement, Plaintiffs acknowledge and represent that
 they have relied upon the advice of their attorneys, Matthew Wikander and Charissa
 Huang, who are the attorneys of their own choice, concerning the legal consequences

                                        Page 2 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.483 Filed 02/04/22 Page 4 of 10




 of this Agreement, that the terms of this Agreement have been completely read and
 explained to them by their attorneys, and that the terms and conditions of this
 Agreement are fully understood and voluntarily accepted by them.

         11.    The parties acknowledge that Court approval of the settlement on behalf
 of a minor will be required and agree to cooperate in obtaining such authorization.
 Plaintiffs’ counsel shall file the appropriate pleadings seeking Court approval.

        12.    Plaintiffs represent and warrant that they have the sole right and exclusive
 authority to execute this Agreement.

        13.    This Agreement shall be construed and interpreted in accordance with the
 laws of the State of Michigan.

        14.   This Agreement contains the entire agreement between Plaintiffs and
 Defendants with regard to the matters set forth in it, and it shall be binding upon and
 inure to the benefit of the executors, administrators, personal representatives, heirs,
 successors, and assigns of each. The parties acknowledge that there are no other
 understandings or agreements, verbal or otherwise, in relation to this Agreement
 between the parties except as herein expressly stated.

        15.     This Agreement cannot be changed or terminated orally and except as
 otherwise specifically provided herein, no change, modification, addition, or amendment
 shall be valid unless in writing signed by or on behalf of all parties hereto.

       16.     This Agreement may be executed non-simultaneously and in counterparts
 and shall be effective as of November 1, 2021.

        17.     If any provision of this Agreement or its application to a given set of
 circumstances is deemed, in whole or in part, to be invalid or unenforceable, then to the
 extent possible, consistent with the intent of this Agreement, such provisions shall be
 interpreted to avoid their prohibitive effect and to apply to those circumstances where its
 application is permissible. In all respects, this Agreement shall be construed as if such
 provision had not been made a part hereof and the remainder of this Agreement shall
 remain in full force and effect.

        18.   Plaintiffs acknowledge that they have been provided a period of
 twenty-one (21) days during which to consider the terms of this Agreement between
 accepting and signing it. If Plaintiffs sign this Agreement before expiration of
 twenty-one (21) days, they represent that they have done so after consultation with
 legal counsel of their own choosing and not at the demand, advice or suggestion of
 Defendants. Plaintiffs also acknowledge that they have been provided a period of
 seven (7) days following the execution of this Agreement within which to revoke the
 Agreement.

       19.   Plaintiffs warrant and represent that they have not received Medicare or
 Medicaid benefits, are not a Medicare or Medicaid beneficiary and have no reasonable

                                        Page 3 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.484 Filed 02/04/22 Page 5 of 10




 expectation of becoming a Medicare or Medicaid beneficiary within 30 months of this
 settlement.

         20.    Plaintiffs agree to provide any information necessary to comply with the
 Medicare/Medicaid reporting requirements. Plaintiffs agree that it is their responsibility
 and not that of Defendants or the Self Insured Insurance Pool to pay for any and all,
 past, present, and/or future medical expenses arising out of or related to the incident
 described in Recital 1. Plaintiffs agree that it is their responsibility to protect Medicare
 and/or Medicaid's interest regarding any payments previously made, or which might be
 made in the future, by those entities on their behalf arising out of or related to any injury
 or illness arguably connected with the claims made in the Lawsuit.

        21.    Plaintiffs agree that if there are any outstanding debts, obligations, liens,
 or claims upon them for reimbursement for benefits, services, accommodations, medical
 treatment, and the like, arising out of or related to the claims made against Defendants,
 including, but not limited to, Medicare/Medicaid liens, they will be responsible to satisfy
 them. Plaintiffs affirm there are no Medicare/Medicaid claims or liens outstanding for
 any medical services or treatment provided to them for any conditions, physical or
 emotional. Plaintiffs agree to indemnify and hold Defendants and the Self Insured
 Insurance Pool harmless from any claims, liens, or lawsuits brought on their behalf or
 through them, by their creditors or heirs at law, Medicare, Medicaid, insurer, or other
 health care providers regarding any services or products provided which are related to
 any harm or injury arising out of, or related to, the claims made against Defendants.
 This indemnification and hold harmless agreement shall include costs, expenses,
 reasonable and actual attorney’s fees, and expert witness fees.

       22.    The parties acknowledge this Agreement is supported by good and
 valuable consideration and the terms contained in this Agreement are meaningful.

         23.   Plaintiffs represent that they had a complete opportunity to consult with
 members of their family, legal counsel of their selection, tax advisors, as well as health
 care providers and/or other medical personnel from whom they may receive services
 relative to the advisability of entering into this Agreement. After undertaking such
 consultations, or having had adequate opportunity to do so, Plaintiffs knowingly,
 voluntarily, and independently concluded that it is in their best interest to accept the
 terms and benefits set forth in this Agreement.

         24.   The parties agree the terms of settlement and the contents of this
 Agreement are and shall remain confidential with the exception that the parties may
 notify accountants, attorneys, staff members with a need to know in order to carry out
 school business, immediate family members, and persons with need to know for any
 supplemental proceeding to finalize the terms of this Agreement. It is further
 acknowledged that the terms of the settlement may be subject to disclosure via court
 order or pursuant to a Freedom of Information Act request. The parties also agree to
 refrain from disparaging one another or any one associated with them, including without
 limitation, any Edwardsburg Public School’s teachers, administrators and/or staff.



                                         Page 4 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.485 Filed 02/04/22 Page 6 of 10




 Disparaging conduct prohibited includes, without limitation, insulting, demeaning,
 profane language or gestures and defamatory statements.

       25.   Plaintiffs understand and agree that they are solely responsible for
 payment of any taxes which might be owed as a result of receipt of the settlement
 proceeds.

        26.     All parties agree to cooperate fully to execute any and all supplementary
 documents and to take all additional actions that may be necessary or appropriate to
 give full force and effect to the basic terms and intent of this Agreement.

        27.    All parties to this Agreement have participated in the drafting and
 preparation of this Agreement and acknowledge that it shall not be construed more
 strongly against nor more favorably for the benefit of any party over another.




                            [Signatures Begin on Next Page]




                                       Page 5 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.486 Filed 02/04/22 Page 7 of 10




 Dated: ________________
                                         McKenzie Pepper

 STATE OF MICHIGAN             )
                               ) ss.
 COUNTY OF CASS )


 On the _____ day of ______________, 2021, the above person, McKenzie Pepper,
 personally appeared before me and made oath that she has read and signed the
 foregoing Settlement Agreement and General Release as her own free act and deed.


                               ________________________________
                               Notary Public
                               Cass County, Michigan
                               My Commission Expires:




 Dated: ________________
                                         Jennifer Pepper

 STATE OF MICHIGAN             )
                               ) ss.
 COUNTY OF CASS                )


 On the _____ day of ______________, 2021, the above person, Jennifer Pepper,
 personally appeared before me and made oath that she has read and signed the
 foregoing Settlement Agreement and General Release as her own free act and deed.


                               ________________________________
                               Notary Public
                               Cass County, Michigan
                               My Commission Expires:




                                       Page 6 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.487 Filed 02/04/22 Page 8 of 10




 Dated: ________________
                                           Brett Pepper

 STATE OF MICHIGAN               )
                                 ) ss.
 COUNTY OF CASS                  )


 On the _____ day of ______________, 2021, the above person, Brett Pepper, personally
 appeared before me and made oath that he has read and signed the foregoing
 Settlement Agreement and General Release as his own free act and deed.


                                 ________________________________
                                 Notary Public
                                 Cass County, Michigan
                                 My Commission Expires:



                                           Edwardsburg Public Schools


 Dated: ________________
                                           Superintendent, James Knoll


 STATE OF MICHIGAN               )
                                 ) ss.
 COUNTY OF CASS                  )


 On the _____ day of ______________, 2021, the above person, James Knoll, personally
 appeared before me and made oath that he has read and signed the foregoing Settlement
 Agreement and General Release as his own free act and deed.


                                 ________________________________
                                 Notary Public
                                 Cass County, Michigan
                                 My Commission Expires:




                                         Page 7 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.488 Filed 02/04/22 Page 9 of 10




 Dated: ________________
                                           Ryan Markel


 STATE OF MICHIGAN               )
                                 ) ss.
 COUNTY OF CASS                  )


 On the _____ day of ______________, 2021, the above person, Ryan Markel, personally
 appeared before me and made oath that he has read and signed the foregoing Settlement
 Agreement and General Release as his own free act and deed.


                                 ________________________________
                                 Notary Public
                                 Cass County, Michigan
                                 My Commission Expires:




 Dated: ________________
                                           Katie VanBelle


 STATE OF MICHIGAN               )
                                 ) ss.
 COUNTY OF CASS                  )


 On the _____ day of ______________, 2021, the above person, Katie VanBelle,
 personally appeared before me and made oath that she has read and signed the
 foregoing Settlement Agreement and General Release as her own free act and deed.


                                 ________________________________
                                 Notary Public
                                 Cass County, Michigan
                                 My Commission Expires:




                                         Page 8 of 9
Case 1:20-cv-00583-JTN-RSK ECF No. 73-2, PageID.489 Filed 02/04/22 Page 10 of 10




 APPROVED AS TO FORM ONLY:



 By:                                          By:
       Matthew L. Wikander (P65160)              Mark T. Ostrowski (P49761)
       Attorney for Plaintiffs                    Attorney for Defendants


 Dated: ______________, 2021                  Dated: ______________, 2021




                                      Page 9 of 9
